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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  COREY RICHARDSON,

                        Petitioner,

  v.                                                            CIVIL ACTION NO. 2:07 CV 78
                                                             CRIMINAL ACTION NO. 2:05 CR 8
                                                                                  (Maxwell)

  UNITED STATES OF AMERICA,

                        Respondent.

                                               ORDER

         On October 4, 2007, pro se Petitioner Corey Richardson filed a Motion Under 28

  U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody.

         The case was referred to United States Magistrate Judge John S. Kaull for

  preliminary review and report and recommendation in accordance with Rules 83.01, et

  seq., of the Local Rules of Prisoner Litigation Procedure and Standing Order No. 4.

         After conducting an initial screening and review, United States Magistrate Judge

  John S. Kaull issued an Opinion/Report And Recommendation on June 16, 2008,

  wherein he recommended that the Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate,

  Set Aside or Correct Sentence by a Person in Federal Custody be denied and dismissed

  from the Court’s active docket because the Petitioner knowingly, intelligently, and

  voluntarily waived the right to collaterally attack the conviction.

         In his Opinion/Report And Recommendation, Magistrate Judge Kaull provided the

  parties with ten (10) days from the date they were served with a copy of said

  Opinion/Report And Recommendation in which to file objections thereto and advised the

  parties that a failure to timely file objections would result in the waiver of their right to
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  appeal from a judgment of this Court based upon said Opinion/Report And

  Recommendation.

         The Court’s review of the docket in the above-styled habeas corpus action reveals

  that Corey Richardson’s Objection To The Magistrate Judge’s Report And

  Recommendation was filed on June 30, 2008.

         Pursuant to 28 U.S.C. § 636(b)(1)(c), this Court is required to make a de novo

  review of those portions of the Magistrate Judge’s findings to which objection is made.

  The Court is not, however, required to review, under a de novo or any other standard, the

  factual or legal conclusions of the Magistrate Judge as to those portions of the findings or

  recommendation to which no objections are made. Thomas v. Arn, 474 U.S. 140, 150

  (1985). The Court has conducted a de novo review only as to the portions of the

  Opinion/Report and Recommendation to which the Petitioner objected. The remaining

  portions of the Opinion/Report And Recommendation to which the Petitioner has not

  objected have been reviewed for clear error.

          Based upon its review, the Court is of the opinion that Magistrate Judge Kaull’s

  Opinion/Report and Recommendation accurately reflects the law applicable to the facts

  and circumstances before the Court in the above-styled action. Further, upon

  consideration of the Petitioner’s Objection To The Magistrate Judge’s Report And

  Recommendation, it appears to the Court that the Petitioner has not raised any issues

  that were not thoroughly considered by Magistrate Judge Kaull in his Opinion/Report And

  Recommendation.      Accordingly, it is

         ORDERED that the Opinion/Report And Recommendation entered by United

  States Magistrate Judge Kaull in the above-styled habeas corpus action on June 16,

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  2008 (Docket No. 373), be, and the same is hereby, ACCEPTED in totality, and that the

  Petitioner’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence

  by a Person in Federal Custody (Docket No. 346) be, and the same is hereby, DENIED

  and DISMISSED from the Court’s active docket because the Petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the conviction. It is

  further

            ORDERED that the above-styled habeas corpus action be, and the same is

  hereby, DISMISSED with prejudice and STRICKEN from the docket of the Court.

  It is further

            ORDERED that, should the Petitioner desire to appeal the decision of this Court,

  written notice of appeal must be received by the Clerk of this Court within thirty (30) days

  from the date of the entry of the Judgment Order, pursuant to Rule 4 of the Federal Rules

  of Appellate Procedure. The $5.00 filing fee for the notice of appeal and the $450.00

  docketing fee should also be submitted with the notice of appeal. In the alternative, at

  the time the notice of appeal is submitted, the Petitioner may, in accordance with the

  provisions of Rule 24(a) of the Federal Rules of Appellate Procedure, seek leave to

  proceed in forma pauperis from the United States Court of Appeals for the Fourth Circuit.

            The Clerk of Court is directed to transmit copies of this Order to the pro se

  Petitioner and to counsel of record herein.

            ENTER: October      15 , 2009




                                                                /S/ Robert E. Maxwell
                                                              United States District Judge


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